          Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 1 of 8 Page ID #:1



 1

 2                                                                       2/7/2024
                                                                           TV
 3

 4

 5

 6

 7

 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  June 2023 Grand Jury

11   UNITED STATES OF AMERICA,                  CR No. 2:24-cr-00084 -GW

12                Plaintiff,                    I N D I C T M E N T

13                v.                            [18 U.S.C. § 1343: Wire Fraud; 18
                                                U.S.C. § 981(a)(1)(C) and 28
14   PEDRAM MEHRIAN,                            U.S.C. § 2461(c)]: Criminal
        aka “Abraham Mehrian,”                  Forfeiture]
15
                  Defendant.
16

17           The Grand Jury charges:
18                                COUNTS ONE THROUGH FIVE
19                                   [18 U.S.C. § 1343]
20   A.      INTRODUCTORY ALLEGATIONS
21           1.    At times relevant to this Indictment:
22                 The Defendant and Relevant Entities
23                 a.   Defendant PEDRAM MEHRIAN, also known as “Abraham
24   Mehrian,” was a resident of Los Angeles, California.
25                 b.   Defendant MEHRIAN owned, managed, and controlled the
26   following business entities, all based in California:             Strong Faith
27   LLC (“Strong Faith”); Family Financial Strategies, Inc. (“Family
28   Financial”); Mehrian Senior Lifestyle Movement LLC (“MSLM”); Trans 26
       Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 2 of 8 Page ID #:2



 1   Integrated Services LLC (“Trans 26”); and Supreme Executive Authority

 2   LLC (“Supreme Executive”).

 3                c.   Defendant MEHRIAN owned, controlled, and was a

 4   signatory on the following bank accounts, all located in Los Angeles

 5   County, California:

 6                     i.    A U.S. Bank checking account ending in 0662, in

 7   the name of Strong Faith LLC (the “Strong Faith U.S. Bank Account”);

 8                     ii.   A Bank of America checking account ending in 2784

 9   in the name of Family Financial Strategies, Inc. (the “Family

10   Financial Account”);

11                     iii. A U.S. Bank checking account ending in 1287 in

12   the name of Mehrian Senior Lifestyle Movement LLC (the “MSLM

13   Account”);

14                     iv.   A U.S. Bank checking account ending in 8292 in

15   the name of Trans 26 Integrated Services LLC (the “Trans 26

16   Account”); and

17                     v.    A U.S. Bank checking account ending in 4159 in

18   the name of Supreme Executive Authority, LLC (the “Supreme Executive

19   Account”).

20                The Economic Injury Disaster Loan Program

21                d.   The Coronavirus Aid, Relief, and Economic Security
22   (“CARES”) Act was a federal law enacted in or about March 2020 that
23   was designed to provide emergency financial assistance to Americans
24   suffering economic harm as a result of the COVID-19 pandemic.
25                e.   The Economic Injury Disaster Loan Program (“EIDL”) was
26   a United States Small Business Administration (“SBA”) program that
27   provided low-interest financing to small businesses, renters, and
28   homeowners in regions affected by declared disasters.
                                            2
       Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 3 of 8 Page ID #:3



 1                f.     The CARES Act authorized the SBA to provide EIDL loans

 2   of up to $2 million to eligible small businesses experiencing

 3   substantial financial disruption due to the COVID-19 pandemic.

 4                g.     To obtain an EIDL loan, a qualifying business was

 5   required to submit an application to the SBA and provide information

 6   about the business’s operations, such as the number of employees,

 7   gross revenues for the 12-month period preceding the disaster, and

 8   cost of goods sold in the 12-month period preceding the disaster.             In

 9   the case of EIDL loans for COVID-19 relief, the 12-month period was

10   the 12-month period from January 31, 2019, to January 31, 2020.             The

11   applicant was also required to certify that all of the information in

12   the application was true and correct to the best of the applicant’s

13   knowledge.

14                h.     EIDL loan applications were submitted directly to the

15   SBA and processed by the agency with support from a government

16   contractor.       The amount of the loan, if the application was approved,

17   was determined in part based on the information provided by the

18   applicant about employment, revenue, and cost of goods sold.            Any

19   funds issued under an EIDL loan were issued directly by the SBA.

20                i.     EIDL loan funds could be used for payroll expenses,

21   sick leave, production costs, and business obligations of the

22   applicant entity, such as debts, rent, and mortgage payments.

23   Borrowers, as part of the EIDL loan application, certified that they

24   would use loan proceeds “solely as working capital to alleviate

25   economic injury caused by disaster occurring in the month of January

26   31, 2020 and continuing thereafter.”

27

28
                                            3
          Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 4 of 8 Page ID #:4



 1   B.      THE SCHEME TO DEFRAUD

 2           2.    Beginning no later than in or about May 2020, and

 3   continuing through at least September 2020, in Los Angeles County,

 4   within the Central District of California, and elsewhere, defendant

 5   MEHRIAN, together with others known and unknown to the Grand Jury,

 6   knowingly and with the intent to defraud, devised, participated in,

 7   and executed a scheme to defraud the SBA as to material matters, and

 8   to obtain money and property by means of material false and

 9   fraudulent pretenses, representations, and promises, and the

10   concealment of material facts.

11           3.    The scheme to defraud operated, in substance, as follows:

12                 a.   Defendant MEHRIAN submitted, and caused to be

13   submitted, false and fraudulent applications to the SBA for EIDL

14   loans on behalf of Strong Faith, Family Financial, MSLM, Trans 26,

15   and Supreme Executive (collectively, the “MEHRIAN Entities”).

16                 b.   In each application, defendant MEHRIAN made and caused

17   to be made false statements, representations, and promises to the SBA

18   in connection with obtaining EIDL loan funds for the MEHRIAN

19   Entities, including: misrepresenting the number of employees of the

20   applicant entity; and providing false information regarding the

21   revenue, cost of goods sold, and business purpose of the applicant

22   entity.

23                 c.   In each loan agreement, defendant MEHRIAN falsely

24   certified that the loan proceeds would be used as permissible working

25   capital for the respective applicant entity, and that all information

26   submitted in or with each loan application was true and accurate.

27                 d.   By his materially false and fraudulent statements and

28   his concealment of material facts, defendant MEHRIAN caused the SBA
                                               4
          Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 5 of 8 Page ID #:5



 1   to approve EIDL loans and to disburse EIDL loan proceeds to which he

 2   and the MEHRIAN Entities were not entitled, which proceeds were

 3   deposited into bank accounts that were controlled by defendant

 4   MEHRIAN.

 5                 e.   In contradiction to the multiple certifications

 6   defendant MEHRIAN made in the loan applications and loan agreements,

 7   defendant MEHRIAN used and caused to be used the fraudulently

 8   obtained EIDL loan proceeds for his personal benefit, including for

 9   expenses prohibited under the requirements of the EIDL program, such

10   as transfers to pay obligations of unrelated business entities and to

11   pay his personal expenses.

12           4.    From in or about May 2020 and continuing until at least in

13   or about December 2020, in furtherance of the scheme, defendant

14   MEHRIAN submitted and caused to be submitted fraudulent EIDL loan

15   applications seeking approximately $2.2 million, and actually

16   received approximately $599,900 in EIDL proceeds to which he was not

17   entitled.

18   C.      USE OF INTERSTATE WIRES

19           5.    On or about the dates set forth below, within the Central
20   District of California, and elsewhere, for the purpose of executing
21   the scheme to defraud described above, defendant MEHRIAN transmitted
22   and caused the transmission of the following items by means of wire
23   communication in interstate commerce:
24   ///
25   ///
26   ///
27   ///
28   ///
                                               5
      Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 6 of 8 Page ID #:6



 1   COUNT       DATE                          INTERSTATE WIRING
 2   ONE     06/30/2020    Transfer of approximately $8,000 from the SBA
                           in Colorado to the Supreme Executive Account in
 3                         Los Angeles, California
 4
     TWO     08/11/2020    Transfer of approximately $149,900 from the SBA
 5                         in Colorado to the Family Financial Account in
                           Los Angeles, California
 6
     THREE   09/1/2020     Transfer of approximately $141,800 from the SBA
 7                         in Colorado to the MLSM Account in Los Angeles,
                           California
 8

 9   FOUR    09/12/2020    Transfer of approximately $149,900 from the SBA
                           in Colorado to the Strong Faith Account in Los
10                         Angeles, California
     FIVE    9/15/2020     Transfer of approximately $149,900 from the SBA
11                         in Colorado to the Trans 26 Account in Los
12                         Angeles, California

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           6
          Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 7 of 8 Page ID #:7



 1                                 FORFEITURE ALLEGATION

 2                [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3           1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant PEDRAM MEHRIAN’s

 8   conviction of the offenses set forth in any of Counts One through

 9   Five of this Indictment.

10           2.    Defendant MEHRIAN, if so convicted, shall forfeit to the

11   United States of America the following:

12                 (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15                 (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18           3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant, if so convicted, shall forfeit substitute property, up to

21   the value of the property described in the preceding paragraph if, as

22   the result of any act or omission of the defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   placed beyond the jurisdiction of the court; (d) has been

27   //

28   //
                                               7
       Case 2:24-cr-00084-GW Document 1 Filed 02/07/24 Page 8 of 8 Page ID #:8



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3

 4                                              A TRUE BILL
 5
                                                         V
 6
                                                Foreperson
 7

 8   E. MARTIN ESTRADA
     United States Attorney
 9

10

11   MACK E. JENKINS
     Assistant United States Attorney
12   Chief, Criminal Division
13   RANEE A. KATZENSTEIN
     Assistant United States Attorney
14   Chief, Major Frauds Section
15   SCOTT PAETTY
     Assistant United States Attorney
16   Deputy Chief, Major Frauds Section
17

18

19

20

21

22

23

24

25

26

27

28

                                            8
